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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF                             )
PENNSYLVANIA and STATE OF                   )
NEW JERSEY,                                 )
                                            )
                       Plaintiffs,          )
v.                                          )      Civil Action No. 2:17-cv-04540 (WB)
                                            )
JOSEPH R. BIDEN, in his official            )
capacity as President of the United States; )
et al.,                                     )
                                            )
                       Defendants.          )
____________________________________)

      NOTICE OF WITHDRAWAL OF NOTICE OF PROPOSED RULEMAKING

       Federal Defendants respectfully give notice to the Court that the U.S. Department of the

Treasury, the U.S. Department of Labor, and the U.S. Department of Health and Human Services

are withdrawing in their entirety proposed rules that were published in the Federal Register on

February 2, 2023, regarding coverage of certain preventive services under the Affordable Care

Act. The unpublished version of the notice of withdrawal can be viewed on the website of the

Federal Register at the following address: https://public-inspection.federalregister.gov/2024-

31239.pdf. The withdrawal will become effective upon publication in the Federal Register on

December 30, 2024.

Dated: December 23, 2024                    Respectfully submitted,


                                            BRIAN NETTER
                                            Deputy Assistant Attorney General

                                            MICHELLE R. BENNETT
                                            Assistant Director, Federal Programs Branch
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                            /s/ Daniel Riess
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